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                         IN THE T]NITED STATES DISTRICT COT]RT FOR THE
                                SOUTHERN DISTRICT OF ALABAMA

                                      PRISONER COMPLAINT
                            lF'oR INMATE ACTTONI T NDER 42 U.S.C. $ 1gg3

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  Narfle under which you were convicted

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                                     INSTRUCTIONS - READ CAREFULLY

 A.  Complaint Form. You must file your original complaint and a copy for each named Defendant.
 Your complaint must be clearly handwritten or tlpewritten. Do not use the back of a page. your
 complaint must be signed by you; no notary is required. Any false statement of material fact malu
 serve as the basis for prosecutioir &r perjury.

B.  Proper Court. Your complaint can only be brought in this Court if a defendant is located in the
Southern District of Alabama and the rest of the defendants are located in Alabama or if your claim
arose in this district. The Southern District ofAlabama is comprised of the following counties:
Baldwin, Clarke, Choctaw, Conecuh, Dallas, Escambia, Hale, Marengo, Mobile, Monroe, perry,
Washington, and Wilcox.

C. Separate Case. It is necessary to file a separate complaint form for      each claim unless the claims
are related to the same incident or issue.

D. Defendants. The persons who are listed as defendants in section Itr of the complaint are deemed
by the Court to be the only defendants to this action. A defendant's present address must be provided.
The Court is unable to serve process without the present address being furnished. The first aifenOant
listed in section Itr should be the defendant that you list in the style of your case on your complaint
form and motion to proceed without prepayment of fees and Costs, ifapplicable, and any other


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         pleading filed with the Court.

      E. Pleading the Complaint. Your complaint should not contain legal arguments, case law or statutory
      citations. You are required to provide facts. Your complaint shall be a short and plain statement of
      your claim and shall provide fair notice to each defendant of the claim against that defendant and of
      the factual grounds upon which the claim rests.

      F. Fees. This complaint cannot be properly filed unless it is accompanied by the $350.00 filing fee or
      amotion to proceed without prepayment of fees if you are unable to afford the filing fee and other
      costs associated with prosecuting this action.

              If you are unable to pay the filing fee and service costs for this action, you may ask the Court
     to let you proceed without prepayment of fees and costs. A blank motion for this pu{pose is included.

             If you wish to proceed without prepayment of fees and costs, you must complete and mail to
     the Clerk of Court a copy of the "Motion to Proceed Without Prepayment of Fees" mailed to you with
     this complaint. This motion will be returned to you without action unless you have an authorized
     officer at the jail or prison complete the financial statement mailed to you with this form.

             Even if the Court authorizes you to proceed withc':rt prepayment of filing fees, you are
     obligated to pay the full $350.00. If you have the ability to pay apartial filing fee when your
     complaint is filed, you will be required to pay an amount, based on yopl assets, of up to the greater of
     20 percent oFyour average monthly balance in your prison account or your average monthly balance
     for six months immediately preceding the filing of your complaint. Thereafter, your prison account
     will be garnished at the rate of 20 percent of your monthly income until the filing fee is paid.

    G. FormofPleadings. Allpleadingsandotherpapersfiledmustbeon 8l/2" x ll"paper,legibly
    handwritten or tlpewritten. Every document filed after the complaint must have the style of the case
    and the docket number. Every pleading must be signed by you and must contain your address and
    telephone number, if any; otherwise, the pleading will be stricken. See Fed. R. Civ. p. ll(a). No
    notary is required.

    H. Certificate of Service. Each pleading filed after the complaint must contain acertificate of service
    indicating that the pleading has been served on the opposing parties and the date that it was sent. A
    pleading will be stricken if it does not contain this certificate of service. See Fed. R. Civ. p. 5.

    I. Copies. This Court will get make copies of your complaint or pleadings unless you prepay the
    required per page copying fee.

    J. Form of Pleadines. Do not write letters to the Court. All pleadings and documents should be sent
    to the clerk of the Court, and not to a magistrate judge or a district judge.

    K.   No Evidence. No evidence shall be sent to the Court for filing or storing.
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I.   PREVIOUS LAWSUITS.

A. Have you filed any other lawsuits       in state or federal court dealing with the same or similar facts
involved in this   action: ,/
         Yes( )          No(,rI
B.   Have you filed other lawsup*in state or federal court relating to your imprisonment:
        Yes    ()        No (izI

C. If your answer to questions A or B above is yes, describe each lawsuit in the space below. (If there
is more than one lawsuit, describe the additional lawsuits on another piece ofpaper, using this same
outline.)

        1. Parties to this previous lawsuit:

        Plaintiffs:



        Defendants:




       2.   Court (if federal court, name the district; if state court, name the county):



       3. Docket Number:

       4.   Were you granted the opportunity to proceed without payment of filing fees?
       Yes( ) No( )
       5. Name ofjudge to whom the case was assigned:

       6. If your case is no longer pending and has been dismissed,  state the reason glven by the
       Court as to why your case was dismissed, i.e., frivolous, malicious, failed to state a claim,
       defendants were immune, etc.




      7. Approximate     date of   filing lawsuit:
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         8. Approximate   date of ruling by court:



 u. YOUR PRESENT COMPLAINT.
                                                                                                       tQorn   fI
 A. Place or institution where action complained of occurred:                                           ut 4fr
                                                                                                       fuj un?Y
B. Dateiroccurred:     M             tY-tt--tS

C. Is there a prisoner grievance procedure in this institution? I   e .<

D. Did   you presrnt the facts relating to your complaint in the state prisoner grievance procedure?
         Yes   (Vl     No   (   )

E. IfyouranswerisYES:

         1. What steps did you take? fatY,ril   ,h   I   u   t'\tl U
       2.   What was the result?




G. Your claim Oriefly explain your claim: what, when, where, who; do not cite &$es; you may,
without leave of Court, add up to five (5) additional pages if necessary):




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 III.   PARTIES.

 A. Plaintiff (Yourname/AlS): Do,r.rtn*. Ble.rLnZ et[e4(n
           yourpresentaddress:         Vr,4cr C, z I+.           'i I ,ulflf rlt^K ll tl!              1il2   6ln"n-   ill S(poaf
 B.    Defendant(s):

 r.   Defendant (full   name)fo"t-"t                is ernployea as   hflaln           x lrAtu .t , fadlihf
          His/lrerpresentaddress       rsrrrf,r t , liarltitrf ttzg frl llpl            147 €,ln-,-u t4/      Jby7(
          (a) Claim    against this   defend*rt



          (b) Supporting facts (Include datellocation of incident):




2.    Defendant (tulI name)   t C, ",r,f   P\"LPI
                                                    r/o r   .i    is employea as I fp r r"Fp Wlyr F




         His/lrerpresentaddress       itrrtfo(,!+r*J??       l/z "9?-g   ill   lLt'/         ("fy"ft    Pl    Sbszf
         (a) Ctaim against this defend ffir$###&- U.b- J {0r( €                              .




         (b) Supporting facts (Include date/location of incident):




3.                Ifu"+lf M'f-^. ",
     Defendant (tull name)                     is employe a as Do{ . f
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           (b) Supporting facts (Include datellocation of incident):




C. Additional Defendants: (If there are additional defendants, you may list them on separate pages
using the same outline above).



IV. A. You must answer the following        questions:

       1. Statetheconviction(s)forwhichyouarepresentlyincaaceratea,                    /tl Dqfp.p-
                                                                                            .t     frobhrE
                                                                                                         I

       2. When were you convicted? Ll-lZr         ln
      3. What is the term of your sentence? I n Vrs       Sfl* d JnlyyX-
      4.    When did you start serving this sentenc eZ ll-lt lO

      5. Do you have any other convictions which form the basis        of a ftture sentence?
                 Yes(    )       NoGrf
      If   so, complete the   following:

      (a) Date of conviction:

      (b) Term of sentence:

      6. What is your expected       end of sentence @.O.S.)   date? " -LUti
     B. If this present lawsuit     concerns your criminal conviction or sentence,
     state whether your conviction has been:

                         Conviction             Sentence
     Reversed           yes( ) no( )           yes( ) no( )
     Expunged yesOnoo                          yes( ) no( )

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          Invalidated    yes( ) no( )           yes( ) no( )
          Writ of habeas yes( ) no( )           yes( ) no( )
           corpus granted

      C. If you answered  yes to any of the questions, state the Court or entity that relieved you from your
          conviction or sentence and the date:




V.  State briefly exactly what you want the Court to do for you      if you win (make no legal argument, cite
no c:mes or statutes):




VI.  AFFIRfvTA-TION. By my signature below, I swear or affirm under penalty of perjury that the facts
set out in this complaint are true and correct.




                                                               of Plaintiff Under Penalty of Perjury)




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